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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

TDC INTERNATIONAL CORP.
f/k/a G.E. THOMPSON DEVELOPMENT CORP,

               Plaintiff,                                   Case No. 08-cv-14792
                                                            Hon. Robert H. Cleland
v.

JAE L. BURNHAM, d/b/a QUICK AND
EASY MOVING, and QUICK AND EASY
MOVING, LLC

               Defendants.

_______________________________________/
BRIAN C. GRANT (P71066)
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________________________________________/


                                          STATUS UPDATE

       Pursuant to this Court’s Order staying the above action due to Defendant Jae L. Burnham

filing for bankruptcy protection, Plaintiff presents the following as its update with regard to the

adversary proceedings filed in the U.S. Bankruptcy Court for the Western District of Michigan,

Case No. 17-80176-swd:

       As this Court is aware, Defendant Jae L. Burnham filed for bankruptcy protection which

automatically stayed the instant action pursuant to 11 U.S.C §362(a). On November 17, 2017,

Plaintiff filed an adversary proceeding arguing that the debt for contempt of court sanctions

against Defendant is not dischargeable.
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               On January 9, 2018, the bankruptcy court entered a default against Defendant for failing

to plead or otherwise defend himself. Following that, on January 12, 2018 Plaintiff filed its

Motion for Default Judgment to render the debt nondischargeable. However, on March 21, 2018,

Defendant had counsel appear for a telephonic hearing on Plaintiff’s Motion for Default

Judgment and the bankruptcy court judge denied the motion and allowed Defendant the

opportunity to present a defense to the allegations.

               Following the denial of Plaintiff’s Motion for Default Judgment, the court set a

Scheduling Order on May 31, 2018 permitting Plaintiff to file a Motion for Summary Judgment

within 35 days from the date of the Scheduling Order. Based upon this deadline, Plaintiff filed

its Motion for Summary Judgment on July 2, 2018. To date, Defendant has not filed a response

to the Motion for Summary Judgment, which said response is due on or before July 16, 2018.

               Plaintiff will file another status update with this Court in 90 days.


                                                                   Respectfully Submitted,

                                                                   O’REILLY RANCILIO, PC

                                                                   _/s/ Brian C. Grant__________
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